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Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
for the
DISTRICT OF NEW JERSEY

DANIEL TRIPO,

CIVIL NO. 11-2050-FLW-DEA
Plaintiff,

-against- NOTICE OF CROSS-MOTION

ROBERT WOOD JOHNSON MEDICAL CENTER,
SYLVIANA BARSOUM, M.D., RENU CHHOKRA,

M.D., and ARLEEN LAMBA, M.D.. Document Filed Electronically
Defendants.

TO: Vasios Kelly & Strollo, P.A.
Attorneys for Defendant
ROBERT WOOD JOHNSON MEDICAL CENTER
2444 Morris Avenue, Ste 304
Union, NJ 07083

Post Polak Goodsell

MacNeill & Strauchler, PA

Attorneys for Defendants

SYLVIANA BARSOUM, M.D.., RENU CHHOKRA,

M.D., and ARLEEN LAMBA, M.D.

425 Eagle Rock Avenue, Suite 200

Roseland, NJ 07068

PLEASE TAKE NOTICE, that on September 6, 2011, plaintiff
shall cross-move before the Honorable Freda L. Wolfson, at the
U.S. District Court, Room 5050, 402 E. State Street, Trenton, NJ

08608, for an Order granting leave to file late notices of claim

against defendants, SYLVIANA BARSOUM, M.D., RENU CHHOKRA, M.D.,

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and ARLEEN LAMBA, M.D., pursuant to the New Jersey Tort Claims
Act, N.J.S.A. 59:8-9, or in the alternative, deeming the late
Notice of Claim served on August 9, 2011 timely served nunc pro
tune.

PLEASE TAKE FURTHER NOTICE, that plaintiff will rely upon
the Declaration of Anthony A. Lenza, Jr., Esq. and Memorandum of
Law submitted herewith as well as the Affidavit of Daniel Tripo.

PLEASE TAKE FURTHER NOTICE, that oral argument is requested
if opposition is submitted to the within motion.

Dated: August 11, 2011

AMABILE & ERMAN, P.C.
Attorney for Plaintiff

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